Case 2:08-cv-00247-TJW Document 56 Filed 08/31/09 Page 1 of 9 PageID #: 602



                             UNITED STATES COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION


  WI-LAN INC.,                                      §
                                                    §
                                  Plaintiff,        §
  v.                                                §
                                                    §
  RESEARCH IN MOTION CORPORATION,                   § Civil Action No. 2:08-cv-247-TJW
  RESEARCH IN MOTION LTD.,                          §
  MOTOROLA, INC., AND UTSTARCOM,                    § JURY TRIAL REQUESTED
  INC.                                              §
                                                    §
                                  Defendants.       §
                                                    §
                                                    §

                            THIRD AMENDED COMPLAINT

         Plaintiff Wi-LAN Inc. (“Wi-LAN”) files this Third Amended Complaint for

  patent infringement against Defendants Motorola, Inc. (“Motorola”), UTStarcom, Inc.

  (“UTStarcom”), LG Electronics Mobilecomm U.S.A., Inc., LG Electronics, Inc.

  (collectively, “LG,”), and Personal Communications Devices, LLC (“Personal

  Communications Devices”), for infringement of U.S. Patent No. RE37,802 (“the ’802

  Patent”) and U.S. Patent No. 5,282,222 (“the ’222 Patent”) pursuant to 35 U.S.C. § 271.

  A copy of the ’802 Patent is attached hereto as Exhibit A. A copy of the ’222 Patent is

  attached hereto as Exhibit B.

                                               PARTIES

         1.      Plaintiff Wi-LAN is a corporation existing under the laws of Canada with

  its principal place of business at 11 Holland Ave., Suite 608, Ottawa, Ontario, Canada.

         2.      Upon information and belief, Defendant Motorola is a Delaware

  Corporation with its principal place of business at 1303 E. Algonquin Rd., Schamburg,
Case 2:08-cv-00247-TJW Document 56 Filed 08/31/09 Page 2 of 9 PageID #: 603



  Illinois 60196. Motorola manufactures for sale and/or sells mobile handsets and/or other

  products compliant with the CDMA2000 standard and/or the 802.11 standards. Motorola

  may be served with process by serving its registered agent, CT Corporation System, 350

  N. St. Paul Street, Dallas, Texas 75201.

           3.       Upon information and belief, Defendant UTStarcom, Inc. is a Delaware

  Corporation with its principal place of business at 1275 Harbor Bay Parkway, Alameda,

  CA 94502. UTStarcom manufactures for sale and/or sells mobile handsets and/or other

  products compliant with the CDMA2000 standard and/or the 802.11 standards.

  UTStarcom may be served with process by serving its registered agent, CT Corporation

  System, 350 North St. Paul St., Dallas, TX 75201.

           4.       Upon information and belief, Defendant LG Electronics Mobilecomm

  U.S.A., Inc. is a California Corporation with its principal place of business at 10101 Old

  Grove Road, San Diego, California 92131. Upon information and belief, Defendant LG

  Electronics, Inc. is, and at all relevant times mentioned herein was, a corporation

  organized and existing under the laws of the country of Korea with its principal place of

  business at LG Twin Towers 20 Yeouido-dong, Yeongdeungpo-gu, Seoul, Korea. LG

  Electronics Mobilecomm U.S.A., Inc. manufactures for sale and/or sells mobile handsets

  and/or other products compliant with the CDMA2000 standard and/or the 802.11

  standards.       Upon information and belief, Defendants LG Electronics Mobilecomm

  U.S.A., Inc. and LG Electronics, Inc. are commonly owned by the same corporate entity

  and are alter egos and/or agents of one another. LG may be served with process by

  serving its registered agent, Alan K. Tse, 10101 Old Grove Road, San Diego, California

  92131.




  Austin 44653v7                              2
Case 2:08-cv-00247-TJW Document 56 Filed 08/31/09 Page 3 of 9 PageID #: 604



           5.      Upon information and belief, Defendant Personal Communications

  Devices is a Delaware Limited Liability Company with its principal place of business at

  555 Wireless Blvd., Hauppauge, New York 11788. Personal Communications Devices

  manufactures for sale and/or sells mobile handsets and/or other products compliant with

  the CDMA2000 standard and/or the 802.11 standards.              Personal Communications

  Devices may be served with process by serving its registered agent, Corporation Service

  Co., 80 State Street, Albany, New York 12207.

                               JURISDICTION AND VENUE

           6.      This is an action for patent infringement under the Patent Laws of the

  United States, 35 U.S.C. § 271.

           7.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331

  and 1338(a).

           8.      This Court has personal jurisdiction over each Defendant.            Each

  Defendant has conducted and does conduct business within the State of Texas. Each

  Defendant, directly or through intermediaries (including distributors, retailers, and

  others), imports, ships, distributes, offers for sale, sells, and advertises (including the

  provision of an interactive web page) its products in the United States, the State of Texas,

  and the Eastern District of Texas. Each Defendant has purposefully and voluntarily

  placed one or more of its infringing products, as described below, into the stream of

  commerce with the expectation that they will be purchased by consumers in the Eastern

  District of Texas. These infringing products have been and continue to be purchased by

  consumers in the Eastern District of Texas. Each Defendant has committed the tort of

  patent infringement within the State of Texas and, particularly, within the Eastern District

  of Texas.


  Austin 44653v7                               3
Case 2:08-cv-00247-TJW Document 56 Filed 08/31/09 Page 4 of 9 PageID #: 605



           9.      Venue is proper in this Court pursuant to 28 U S.C. §§ 1391 and 1400(b).

                           COUNT I: PATENT INFRINGEMENT

           10.     On July 23, 2002, the United States Patent and Trademark Office duly and

  legally issued the ’802 Patent, entitled “Multicode Direct Sequence Spread Spectrum”

  after a full and fair examination. Wi-LAN is the assignee of all rights, title, and interest

  in and to the ’802 Patent and possesses all rights of recovery under the ’802 Patent,

  including the right to recover damages for past infringement.

           11.     The ’802 Patent is valid and enforceable.

           12.     On January 25, 1994, the United States Patent and Trademark Office duly

  and legally issued the ’222 Patent, entitled “Method and Apparatus for Multiple Access

  Between Tranceivers in Wireless Communications Using OFDM Spread Spectrum” after

  a full and fair examination. Wi-LAN is the assignee of all rights, title, and interest in and

  to the ’222 Patent and possesses all rights of recovery under the ’222 Patent, including

  the right to recover damages for past infringement.

           13.     The ’222 Patent is valid and enforceable.

           14.     Upon information and belief, Motorola has been and is now infringing,

  directly and/or indirectly by way of inducement and/or contributory infringement,

  literally and/or under the doctrine of equivalents, the ’802 Patent in this District and

  elsewhere by making, using, offering for sale, importing, and/or selling mobile handsets

  and/or other products compliant with the CDMA2000 standard and/or the 802.11

  standards that fall within the scope of at least one claim of the ’802 Patent.

           15.     Upon information and belief, Motorola has been and is now infringing,

  directly and/or indirectly by way of inducement and/or contributory infringement,

  literally and/or under the doctrine of equivalents, the ’222 Patent in this District and


  Austin 44653v7                                4
Case 2:08-cv-00247-TJW Document 56 Filed 08/31/09 Page 5 of 9 PageID #: 606



  elsewhere by making, using, offering for sale, importing, and/or selling mobile handsets

  and/or other products compliant with the 802.11 standards that fall within the scope of at

  least one claim of the ’222 Patent.

           16.     Upon information and belief, UTStarcom has been and is now infringing,

  directly and/or indirectly by way of inducement and/or contributory infringement,

  literally and/or under the doctrine of equivalents, the ’802 Patent in this District and

  elsewhere by making, using, offering for sale, importing, and/or selling mobile handsets

  and/or other products compliant with the CDMA2000 standard and/or the 802.11

  standards that fall within the scope of at least one claim of the ’802 Patent.

           17.     Upon information and belief, UTStarcom has been and is now infringing,

  directly and/or indirectly by way of inducement and/or contributory infringement,

  literally and/or under the doctrine of equivalents, the ’222 Patent in this District and

  elsewhere by making, using, offering for sale, importing, and/or selling mobile handsets

  and/or other products compliant with the 802.11 standards that fall within the scope of at

  least one claim of the ’222 Patent.

           18.     Upon information and belief, LG has been and is now infringing, directly

  and/or indirectly by way of inducement and/or contributory infringement, literally and/or

  under the doctrine of equivalents, the ’802 Patent in this District and elsewhere by

  making, using, offering for sale, importing, and/or selling mobile handsets and/or other

  products compliant with the CDMA2000 standard and/or the 802.11 standards that fall

  within the scope of at least one claim of the ’802 Patent.

           19.     Upon information and belief, LG has been and is now infringing, directly

  and/or indirectly by way of inducement and/or contributory infringement, literally and/or




  Austin 44653v7                                5
Case 2:08-cv-00247-TJW Document 56 Filed 08/31/09 Page 6 of 9 PageID #: 607



  under the doctrine of equivalents, the ’222 Patent in this District and elsewhere by

  making, using, offering for sale, importing, and/or selling products compliant with the

  802.11 standards that fall within the scope of at least one claim of the ’222 Patent.

           20.     Upon information and belief, Personal Communications Devices has been

  and is now infringing, directly and/or indirectly by way of inducement and/or

  contributory infringement, literally and/or under the doctrine of equivalents, the ’802

  Patent in this District and elsewhere by making, using, offering for sale, importing,

  and/or selling mobile handsets and/or other products compliant with the CDMA2000

  standard and/or the 802.11 standards that fall within the scope of at least one claim of the

  ’802 Patent.

           21.     Upon information and belief, Personal Communications Devices has been

  and is now infringing, directly and/or indirectly by way of inducement and/or

  contributory infringement, literally and/or under the doctrine of equivalents, the ’222

  Patent in this District and elsewhere by making, using, offering for sale, importing,

  and/or selling products compliant with the 802.11 standards that fall within the scope of

  at least one claim of the ’222 Patent.

           22.     Wi-LAN has no adequate remedy at law against Defendants’ acts of

  infringement, and, unless Defendants are enjoined from their infringement of the ’802

  Patent and the ’222 Patent, Wi-LAN will suffer irreparable harm.

           23.     Many of the Defendants have had knowledge of the ’802 Patent and the

  ’222 Patent but have not ceased their infringing activities.            These Defendants’

  infringement of the ’802 Patent and the ’222 Patent has been and continues to be willful

  and deliberate. All the Defendants have knowledge of the ’802 Patent and the ’222




  Austin 44653v7                               6
Case 2:08-cv-00247-TJW Document 56 Filed 08/31/09 Page 7 of 9 PageID #: 608



  Patent by way of this complaint and to the extent they do not cease their infringing

  activities their infringement is and continues to be willful and deliberate.

            24.    Wi-LAN is in compliance with the requirements of 35 U.S.C. § 287.

            25.    Defendants, by way of their infringing activities, have caused and continue

  to cause Wi-LAN to suffer damages in an amount to be determined at trial.

                                     PRAYER FOR RELIEF

            WHEREFORE, Wi-LAN prays for the following relief:

            1.     A judgment in favor of Wi-LAN that Defendants have infringed, directly

  and indirectly by way of inducement and/or contributory infringement, literally and/or

  under the doctrine of equivalents, the ’802 Patent and the ’222 Patent;

            2.     A permanent injunction, enjoining Defendants and their officers, directors,

  agents, servants, employees, affiliates, divisions, branches, subsidiaries, parents and all

  others acting in concert or privity with any of them from infringing, inducing the

  infringement of, or contributing to the infringement of the ’802 Patent and the ’222

  Patent;

            3.     Award to Wi-LAN the damages to which it is entitled under 35 U.S.C. §

  284 for Defendants’ past infringement and any continuing or future infringement up until

  the date Defendants are finally and permanently enjoined from further infringement,

  including both compensatory damages and treble damages for willful infringement, and

  order a full accounting of same;

            4.     A judgment and order requiring Defendants to pay the costs of this action

  (including all disbursements), as well as attorneys’ fees as provided by 35 U.S.C. § 285;

            5.     Award to Wi-LAN pre-judgment and post-judgment interest on its

  damages; and


  Austin 44653v7                                7
Case 2:08-cv-00247-TJW Document 56 Filed 08/31/09 Page 8 of 9 PageID #: 609



           6.        Such other and further relief in law or in equity to which Wi-LAN may be

  justly entitled.

                                 DEMAND FOR JURY TRIAL

           Wi-LAN demands a trial by jury of any and all issues triable of right before a

  jury.




  Austin 44653v7                                 8
Case 2:08-cv-00247-TJW Document 56 Filed 08/31/09 Page 9 of 9 PageID #: 610



  DATED: August 31, 2009                             Respectfully submitted,

                                                     McKool Smith, P.C.

                                                     /s/ Sam Baxter _____________________
                                                     Sam Baxter
                                                     Lead Attorney
                                                     Texas State Bar No. 01938000
                                                     sbaxter@mckoolsmith.com
                                                     104 E. Houston Street, Suite 300
                                                     P.O. Box O
                                                     Marshall, Texas 75670
                                                     Telephone: (903) 923-9000
                                                     Facsimile: (903) 923-9099

                                                     Robert A. Cote
                                                     rcote@mckoolsmith.com
                                                     399 Park Ave., Suite 3200
                                                     New York, NY 10022
                                                     Telephone: (212) 402-9400
                                                     Facsimile: (212) 402-9444

                                                     ATTORNEYS FOR PLAINTIFF WI-
                                                     LAN INC.




                               CERTIFICATE OF SERVICE

           I hereby certify that on August 31, 2009, a true and correct copy of the foregoing

  THIRD AMENDED COMPLAINT was filed electronically with the Clerk of the Court

  using CM/ECF System. Notice of this filing will be sent by operation of the Court’s

  electronic filing system to all parties indicated on the electronic filing receipt. Parties may

  access this filing through the Court’s electronic filing system.



                                                     By:     /s/ Michael G. McManus_______
                                                             Michael G. McManus




  Austin 44653v7                                9
